                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


GREGORY HALPERN,

                       Plaintiff,
                                                      Civil No.: 1:25-cv-03637
       v.                                             Judge: Hon. Jeffrey I. Cummings
                                                      Magistrate: Hon. Young B. Kim
CHIQUITA BROOKS-LASURE, et al.,

                       Defendants.


              DEFENDANT GOLI SHEIKHOLESLAMI’S OPPOSITION TO
              PLAINTIFF’S SUPPLEMENTAL MOTION TO REMAND FOR
                 LACK OF UNANIMITY AND PROCEDURAL DEFECT

       Defendant Goli Sheikholeslami (“Sheikholeslami”), by and through counsel, hereby

opposes Plaintiff Gregory J. Halpern’s (“Halpern”) Supplemental Motion to Remand for Lack of

Unanimity and Procedural Defect (ECF No. 31) for several reasons. First, Halpern’s

Supplemental Motion is untimely. Pursuant to 28 U.S.C. § 1447(c), a motion to remand based

on alleged procedural defects must be made within 30 days of the notice of removal. Here, the

notice of removal was filed on April 4, 2025, so the 30-day deadline expired on May 5, 2025.

ECF No. 1. The Supplemental Motion should be denied for this reason alone. Second, to the

extent the Court instead construes Halpern’s filing as supplemental briefing on his fully briefed

and pending motion to remand, see ECF Nos. 9 (motion), 15 (response), 18 (reply), it is an

improper supplemental reply, which the Court should disregard. Third, and in any event,

Halpern does not raise any new arguments in his supplemental brief, and thus, it fails for the

same reasons that Halpern’s original motion to remand fails. That is, Sheikholeslami properly

removed this case to federal court because (a) the Court has undisputed federal question

jurisdiction based on the face of the Complaint, (b) the Court also has diversity jurisdiction, and
(c) Sheikholeslami did not need the consent of any co-defendant to remove because, at the time

of removal, none had been “properly joined and served” under Illinois law. See 28 U.S.C.

§ 1446(b)(2)(A); ECF No. 15 at 3-5, n.2. The exhibits appended to Halpern’s supplemental

motion and to his recent motions for entry of default merely underscore that conclusion. See

ECF No. 31, Ex. B; see also ECF No. 28, 30, 32, 33.

       For the foregoing reasons, Sheikholeslami respectfully requests that the Court deny

Halpern’s Supplemental Motion to Remand for Lack of Unanimity and Procedural Defect.

Dated: July 14, 2025                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       Pursuant to LR 5.5, I hereby certify that on July 14, 2025, I caused true and correct

copies of the foregoing Opposition to Plaintiff’s Supplemental Motion to Remand for Lack of

Unanimity and Procedural Defect to be electronically filed with the Clerk of the Court using the

CM/ECF system, which will serve all parties of record in the case.


                                             /s/Chad R. Bowman
                                             Chad R. Bowman
